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                                          I.JNITED STATES DISTRICT COURT
                                        FOR. THE DISTRICT OF CONNECTICUT



                                                                                                        )
TRUSTEES OF THE                         CONNECTICUT                                                     )
PIPE TRADES LOCAL 777 HEALTH                  FI.JND,                                                   )       Civil Action No.
ANNUITY FUND, CONNECTICUT                    STATE                                                      )
PENSION FUND, APPRËNTICE TRAINING
FUND, INDUSTR.Y FUND, INTERNATIONAL
TRAINING FUND, NATICINAL PENSION FUND,
AND THE UNITED AS.9CICIATION OF PI.UMBERS
AND PIPEFITTERS TOCAL 777

                 P!aintiffs

                 v.

EAST WEST MECHANICAL, LLC AND
DAV¡D TAFT, ¡NDIVIDUALLY
                                                                                                                April 2,2020
                 Ðefendant



                                                                    CQMPLAINT

PARTIES
                           . ..   : '   i,,   '

        1.       Plaintiffs Trustees gf the Óonnecticut Pipe Trades Local 777 Health Fund,
                                                                                I.



An'nuity Fund, Gonnectict¡t State Pension Fund, Apprentice Training Fund, and lndustry

Fund (hereinaf{er reterred to as the "Local Funds"), and Plaintiffs Trustees of the United

Association of Plumbers and Pipefitters lnternationalTraining Fund and National Pension

Fund (hereinafter refened.to as the'iNational Funds") (jointly the "Funds") are Trustees

of multi-employer employee benefit plans as those terms are cjefined in Sections 3(3)




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 .                                                ROBERT M. CHEVERIE & ASSOCIATES, P.C.
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and 3(37) of the Employee Retirement lncome Security Act of 1974, (hereinafter referred

to as "ER|SA," 29 U.S.C, S$ 1002(3) and (37)) The Funds are established                                                                          and

maintained by Restated Agreement and Declaration of Trusts and by                                                                 a Collective
Bargaining Agreement, ("CBA") between the, United Association                                                          of    Flurnbers and

Pipefitters Local 777 and East \filest Mechanical, LLC, (hereinafter referred to as "Ëast

West"). The Local Funds are administered at 1155 Silas Deane Highway, Wethersfield,

CT 06109. The National Funds are administered at 103 Oronoco Street, Alexandr:ia, VA

22314.

        2.       Plaintiff United Association                            of    Plumbers and Pipefitters Local 777

(hereinafter referred to as the "Union") is a labor organization within the meaning of

Section 2(5) of the National Labor Relations Act, 29 U.S.C. S 152(5).

        3.       The Defendant, East West, is doing business under the laws of the State

of Connecticut, with an address located aï 524 East Street, Suite 4, New Haven, CT

06511. East West transacts business in the State of Connecticut as a contractor or
subcontractor in the plumbíng and pipefitting industry and at all relevant times herein was

an "employer in an indirstry affecting commerce" as defined in Sections 501(l), (3), and

2(2) of tne Labor-Management Relations Act ("LMRA"),29 U.S.C. SS 142(l), (3), and

152(2)', Sections 3(5), (9), (11), (12) and (1a) of ERISA,29 U.S.C. $S 1002(5), (9), (11),

(12) and (14); and Section 3 of the Multi-Employer Pension Plan Amendments Act of

1980, 29 U.S.C. S 1001(a).




                                    .r                                 ¿,

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coMMERcE cENTER oNE   .   333   E¡srfirvËn oRNE . surrg 10l - eisr ¡tnçnrono, cr 06rts . (860) æ0-9610   .   FAx (s6o) z9o-e611 " .JUBrs No. 4os7r9
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             4.      The Defendant, David Taft, is upon information and belief. the owner and

     principal officer of East West Mechanical, l-LC.

     JURTSp_lç;TrON"

             5.      This Court lras jurisdiction over this action because it arises under the laws

     of the United States. 28' U"S.C: $ 1331. Specifically, this Court lras jurisd.ictioll over this

     action underSections 502 and 515 of ERISA,29 U.S.C. $S 1132.and1145; and under

     $ection 301 of the LMRA,29 U.S.C. $ 185(a). This is an action for breach of a CBA

     between an employer and a labor organization representing ernployees in an industry

     affecting commerce and to collect delinquent employer contributions due to empioyee

     benefit plans under the terms of a CBA and ERISA.
                                ':
     Ë.QUNT I     {Breachjf Çgllgçtivs¡_B¿Lqainln$ Aqfeelnent and Settlement As'"gementì
         , , 6.      The Plaintiffs hereby incorporate by i'eference paragraphs 1-5 of the
     Complaint as if frrlly set forth herein.

            7.       Defendant East West entered into a CBA v¿ith the United Association of

     Plumbers and Pipefitters LocalVTT . establishing the ternrs and conditions of employnnent

     for journeyman and qpprentice nÍumbers and pipefittei's employed by Fast West.
ii



     sums of money for each hour worked or paid by emplo¡,ees of Defendant East West

     covered by the CBA,




                                       ROBERT M. CHEVER¡E & ASSOCIATES, P.C.
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         L     Said CBA also binds East West to the Funds' Collection Pclicy, which

provides for interest, liquidated damages, reasonable attorney's fees, and sheriff and

court costs to be imposed for the collection of any contributlons ihat are not timely paid.

         10.   East Wes{ employed certain employees covered under the CBA from at

least December 20X7 to the present.

         11.   Defendant East West failed to make contributions to the Funds for work

performed at East \A/est's request for the mc¡nths of December 2017 through February

201 B.

         12.   On oraround April 4, 2A19, the Funds, the Union, EastWest, and David

Taft executed a Settlement Agreement whereby East West agreed to pay the Funds and

the Union a total af $34,249.96', including contrib,utions for the months of December 2017

through February 2018 in the annount of $32,920.06, and interest over the course of the

Agreement in the amount of $1,329.90.

         13"   The Settlernent Agreement required East \l/est to submit an initial                                           h-rmp


surl payment of $8,562.49 followed by six (6) monthly payments in the, amount of
$4,281.25, with the first paynnent being due on May 1 , 2019 and the final payment being

due November 1,2019.

         14.   The Settlement Agreement also included a Personal Guaranty signed by

David Taft, guaranteeing punctual payments of all sums due by East West to the Funds

and Union.




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        15.      East West submitted various payments towards the agreement for a total

of $10,2At.0A.

        16.     'East West has defaulted on the agreement by failing                                             to   submit

approximately flve (5) payments. ,Since Ea'st Vr/est is in a breach of this Agreement, the

entiie balance      oif   $2¿,A4.9.96     is now due and owing, as well as liquidated damages

included ín the Agreement of $,5,79S .02, far a total               af 829,847.98. The amounts owed to

the Funds and the Union as described in Paragraphs 12-15 is a breach of the Settlement

Agreement and Collective Bargaining Agreernent.

         17.      ln addition, East West employed certain employees covered under the

CBA throughout the period of June 2019 to the present and ongoing.

        18.      Defendant East Wesi failed to make contributions for work performed at

Ëast West's request to the National Funds for the period of June 2019 through January

2020 in the total amount            of    555,849.7A. tn addition. Ëast West continues                            to accrue

contribution obligationé to the Funds for current employment under the CBA.

        19.      Ëast West has failed to respond to correspondence from Plaintiffs' Counsel

regarding pâyment of these delinquencies. East West's faílure to pay the arnounts owed

to the Funds on behalf of employees covered by the CBA is a breach of the CBA.

        2,0.     Pursuant to the CBA and the Fr¡nds' Collection Policy, East West is liable

to the Flaintiffs for the rinpaid contributions, interest on the unpaid                                     coniributions,

liquidated damages, reasonable attorney's fees, costs of this aciion, and such other legal

and equitable relief as ihe Court deems appropriate.


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        21.      The Plaintiffs hereby incorporate by reference paragraphs 1-20 of the

Conrplaint as if ftilly set forth herein.

        22.      East West's failure to pay the amounts owed to the Funds is a violation of

ERISA, 29 U,S.C. $ 1145, which requires contributions to he made to multi-enrployer

plans under the terms,of"a Collectir¡e Barga.inirlg Agreenrent.

        2g.      Pursuant to 29. [J.S.C.                    S    1132(9)(2) ancl                the Collective Bargaining
AEreement, East Vr/est is liable to the Plai¡rtiffs for the balance of the settlement

agreernent, all unpaid delinqirent contributiorrs, Union Dues, interest on the unpaid

contributions and dues, liquidated damages provided                                         for in tl'te Plan,                    reasonable

attrrrney's tees, costs of this aùtion, and such other legal and equitable relief as the Court

deems appropriate.


WHEREFORF, Flaintiffs Funds pray for jucgment as follows:

        4..Orclering .Fast V/egt to submit payment for the balance of the Settlement
           Agreement in the arnount af $29,847.98;
                                                                      '


        B. Ordering East West pay contribufions for the rnonths of June 2019 through
             January 2020 in the amount of $55,849.70 ta the National Funds, as well as
             any contributions that become due during the pendency and up until the time
             clf Judgrnent;

        C. Ordering East \fries.t to make payment of. interest and llquidated damages on
             the unpaid contributions to the Local Funds and National Funrls, as well as
           , reasonabie attorneyrs fees, and costs of this action, pulsuant to 29 U.S C
             Sectdçn 1132(g); and
        D.   For such other and.further: relief as the Court may -deem appropriate.




                                                                b
                "            :'     ROBERT ¡t. CHEVER!Ë & ASSOCIATES, PC'
 COMMERTECENTEFONç,.. s3sEASTRIVERDR|VE   .   SUrrErOr.. elsl¡r¡rfFo-Ro,cT 06108   .   (860)29Û-9610   .   rÂX(860)290-9611   .   JUR|SNO.4057ls
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       DATED at East Hartford,,Connecticut, this 2nd day of April 2020.
        .                   .
                                                                ATTORNËY FOR PLAINI'IFFS,


                                                       By:              lþ/ Gteqory S. Cafpqra
                                                            .   Greggry S,Campora, Ese,
                                                                ROBERT NI. CHEVËRI.E g '
                                                                ASSOCIATES, P.C.
                                                                333 East River Drive, Suite 101
                                                                East Hartford, CT 06108-4203
                                                                Tele. No.: (860) 29CI-9610
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                                   ROBERT M. CI{EVEHIE & ASSOCIATES, P.C.
C{)MMERTECENTEROñE. sS3EASTR|VEnDRIVE.SU|TEr0l . EASTHARTFORD,CT 06108. (860¡æ0-96f0.   FAX(860)2S0-96',11   "   JUR|SNO.405719
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                                      CERTIFICATE OF SERVICE


        This is to certify that a copy of the foregoing Cornplaint has been served by

certified maii, as requirecl by Section 502(h) of the Employment Retirement lncome

Security Act of 1g74,29 U.S.C. Section 1132(h), this 2nd day el April 2020, on the

foilowing:


Secretary of the Treasury
INTERNAI- REVENUE SERVICE
31 Hopkins Plaza, Suite B2
Baltimore, l\AD 21201
Attn: Ëmployee Plans

Secretary of Labor
200 Constitution Avenue, Fi.W.
Vt/as¡¡nn1on, D.t. 20210
A.ttn: Assistant $olicitor for Plan
        Benefits Security       :




                                                                    ATTORNEY FOR PLAINTIFFS,



                                                                       By: /ç1   Greqo@
                                                                             Gregory S. Campora, Ësq.




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                                    ROtsERT M. CHEVERIE & ASSOCIATES, P.C.
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